                       Case 4:17-cr-00262-WTM-CLR Document 183 Filed 07/05/18 Page 1 of 1




                                IN THE UNITED STATES DISTRICT COURT FOR
                                      THE SOUTHERN DISTRICT OF GEORGIA
                                                SAVANNAH DIVISION


           UNITED STATES OF AMERICA,


                                                                  Case No.   CR417-262


           BAHEEM FRAZIER,
                                      Defendant,




                       Samuel    G.    Oliver   counsel   of   record for defendant Baheem

           Frazier in the above-styled case has moved for leave of absence.

           The Court is mindful that personal and professional obligations

            require the absence of counsel on occasion. The Court, however,

            cannot accommodate its schedule to the thousands of attorneys who

            practice within the Southern District of Georgia.

                        Counsel may be absent at the times requested. However, nothing

            shall prevent the case from going forward; all discovery shall
            proceed, status conferences, pretrial conferences, and trial shall
            not be interrupted or delayed. It is the affirmative obligation of

            counsel to provide a fitting substitute.

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                                                       WILLIAM T. MOORE, JR., JUDGE
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                                                       SOUTHERN DISTRICT OF GEORGIA
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